      Case 20-21593-jrs         Doc 9    Filed 12/02/20 Entered 12/02/20 14:13:28                 Desc Order
                                         Vacating Order Page 1 of 1

                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                         GAINESVILLE DIVISION


In     Glenn Michael Heagerty Jr.                        )
Re:    2890 Willow Wisp Way                              ) Case No.: 20−21593−jrs
       Cumming, GA 30040                                 ) Chapter: 13
                                                         )
       xxx−xx−1077                                       )
                                                         )

       Debtor(s)



                                           ORDER VACATING ORDER


      On December 2, 2020, the Clerk issued an order entitled Order Granting Application by Debtor(s) to Pay Filing
Fees in Installments in error. Accordingly, it is hereby

    ORDERED that the Order Granting Application by Debtor(s) to Pay Filing Fees in Installments entered
December 2, 2020 is hereby VACATED in its entirety.

      The Clerk is directed to serve a copy of this Order upon Debtor, Debtor's Counsel, if any, the Trustee, and any
parties in interest.

SO ORDERED, ON December 2, 2020.




                                                           UNITED STATES BANKRUPTCY JUDGE



Dated: December 2, 2020
Form orvacor −11/2016
